   Case: 1:19-cv-08454 Document #: 195 Filed: 03/02/22 Page 1 of 5 PageID #:3198




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SECURITIES AND EXCHANGE                            )
COMMISSION,                                        )
                                                   )
               Plaintiff,                          )
                                                   )          No. 19-cv-08454
       v.                                          )
                                                   )          Judge Andrea R. Wood
TODAY’S GROWTH CONSULTANT, INC.                    )
et al.,                                            )
                                                   )
               Defendants.                         )


      AMENDED PROTECTIVE ORDER PROHIBITING USE OF DOCUMENTS AND
    INFORMATION OUTSIDE OF THIS LITIGATION AND THE RELATED CRIMINAL
            PROCEEDING AGAINST KENNETH D. COURTRIGHT, III,
              AND REQUIRING REDACTION IF FILED IN COURT

       This amended Protective Order replaces the Stipulation and Protective Order Prohibiting

Use of Documents and Information Outside of this Litigation and the Related Criminal Proceeding

Against Kenneth D. Courtright, III, and Requiring Redaction if Filed in Court [ECF No. 100]

entered by this Court on September 24, 2020.

       1.      All documents and other information produced or received by any Party in the course

of this litigation, including all testimony transcripts (collectively “Materials”), are subject to this

protective order and shall be used exclusively for purposes of this litigation or the criminal

proceeding captioned United States of America v. Kenneth D. Courtright, 1:20-cr-00077 (N.D. Ill.).

Any copies, reproductions, and notes of the Materials shall be treated in the same manner as the

original Materials.

               Any Party noticing a deposition or otherwise desiring to show a potential witness or

his or her counsel such Materials shall provide a copy of this Amended Protective Order to the
    Case: 1:19-cv-08454 Document #: 195 Filed: 03/02/22 Page 2 of 5 PageID #:3199




witness or potential witness and counsel in advance of showing them any Materials, and shall

require the witness or proposed witness and counsel to sign Exhibit A hereto. Potential witnesses

and their counsel may not retain copies of any Materials without prior permission of the Court.

        2.      The following information shall be redacted from any public filing made with the

Court in this litigation, including, but not limited to, any brief or exhibit:

                a.      The identity of any counterparty to any Consulting Performance Agreement

or Software Development Agreement entered into by Todays Growth Consultant Inc. (“TGC”)

from 2005 through 2019, and any contact information for that counterparty, including but not

limited to, phone numbers, email addresses, and physical addresses, and, if the counter-party is an

entity, the identity and contact information for any person associated with the counterparty; and

                b.      The identity of any website held by TGC, regardless of whether the website

is or was assigned to a Consulting Performance Agreement or Software Development Agreement

or counter-party, or is unassigned but available to be assigned, or is held by TGC for its own benefit.

        3.      Notwithstanding any other provisions contained herein, nothing in this Amended

Protective Order shall be construed to limit or otherwise abrogate the SEC’s ability to make its files

available pursuant to the “Routine Uses of Information” section of SEC Forms 1661 or 1662, or to

comply with any other statutory obligation.

        4.      Nothwithstanding any other provisions contained herein, nothing in this Amended

Protective Order shall be construed to limit the Receiver’s right to use the documents and

information of Todays Growth Consultant Inc. d/b/a The Income Store (“TGC Records”) 1 in




1
 TGC’s Records include, without limitation all documents, information, databases, email accounts,
correspondences, accounting records, bank account records, paper files and other records of TGC
currently in the possession, custody or control of the Receiver that were obtained during the
execution of the mandates of the Appointment Order and/or that were forensically imaged,
                                                    2
   Case: 1:19-cv-08454 Document #: 195 Filed: 03/02/22 Page 3 of 5 PageID #:3200




fulfilling her duties and obligations under the Order Appointing Receiver dated December 30, 2019

[ECF No. 19], including in any action in which the Receiver may pursue claims on behalf of TGC

or the Receivership Estate; provided that, if the Receiver is required to produce any TGC Records

in any such action, prior to production the Receiver shall (a) seek and obtain entry of a protective

order or confidentiality order in that action similar in substance to the protective order in this action

to govern the use, disclosure, and treatment of TGC Records, or (b) if unable to obtain such a

protective order, file an appropriate motion seeking permission from this Court to produce the

documents in connection with the other action.

        5.      Upon the later of the conclusion of this litigation, or the conclusion of the above-

referenced criminal proceeding, Defendant Courtright and his counsel shall dispose of all Materials,

copies, reproductions, and notes thereof, in one of three ways, unless otherwise ordered by the

Court: (i) destroyed, (ii) returned to the SEC, (iii) retained in the files of Courtright’s counsel. In

the event that the Materials, copies, reproductions, and/or notes are retained by counsel, the

restrictions on this Order continue in effect so long as the Materials, copies, reproductions, and/or

notes are so maintained, and may not be disseminated or used in connection with any other matter

without further order of this Court.




preserved, and archived by the Receiver and her professionals in the performance of the Receiver’s
duties and obligations as set forth in the Appointment Order.
                                                   3
   Case: 1:19-cv-08454 Document #: 195 Filed: 03/02/22 Page 4 of 5 PageID #:3201




       6.     This Amended Proposed Protective Order may be modified by agreement of the

Receiver, Courtright, and the SEC, and upon further Order of the Court for good cause shown.


SO ORDERED:



                                                          Date: March 3, 2022
ANDREA R. WOOD
UNITED STATES DISTRICT JUDGE




                                               4
   Case: 1:19-cv-08454 Document #: 195 Filed: 03/02/22 Page 5 of 5 PageID #:3202




                                            EXHIBIT A
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

SECURITIES AND EXCHANGE                           )
COMMISSION,                                       )
                                                  )
               Plaintiff,                         )
                                                  )             No. 19-cv-08454
       v.                                         )
                                                  )             Judge Andrea R. Wood
TODAY’S GROWTH CONSULTANT, INC.                   )
et al.,                                           )
                                                  )
               Defendants.                        )

       I hereby acknowledge that I am to receive documents or information pursuant to the terms

of an Amended Protective Order Prohibiting Use of Documents and Information Outside of This

Litigation and the Related Criminal Proceeding Against Kenneth D. Courtright, III, and Requiring

Redaction if Filed in Court (“Order”) in Securities and Exchange Commission v. Todays Growth

Consultant Inc., et al., Case No. 1:19-cv-08454, pending in the United States District Court for the

Northern District of Illinois.

       I acknowledge receipt of a copy of the Order, and certify that I have read it. I agree to be

bound by the terms and restrictions set forth therein as if I were a Party. I agree to submit to the

jurisdiction of the United States District Court for the Northern District of Illinois with respect to

any proceedings relating to or arising from this Declaration.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.                                  ____________________________________
                                              (Signed)
                                              ____________________________________
                                              (Print Name)
                                              ____________________________________
                                              (Date)


                                                  5
